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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 CENTER TO ADVANCE SECURITY IN
 AMERICA
 1802 Vernon Street NW
 PMB 2095                                                     Civil Case No. 1:25-cv-301
 Washington, D.C. 20009,

                Plaintiff,
           v.

 U.S. DEPARTMENT OF THE AIR FORCE,
 1670 Air Force Pentagon
 Washington, D.C. 20330-1670,

                Defendant.


                                           COMPLAINT

       1.       Plaintiff Center to Advance Security in America (“CASA”) brings this action

against the United States Air Force (“USAF”) under the Freedom of Information Act, 5 U.S.C. §

552 (“FOIA”), seeking declaratory and injunctive relief to compel USAF’s compliance with FOIA.

                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. §§ 1331.

       3.       Venue is proper in this Court pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §

1391(e).

                                             PARTIES

       4.       Plaintiff CASA is an unincorporated association dedicated to improving the safety

and security of the American people. CASA educates and informs the American people about the

actions of their government and its officials that impact their safety; peace and security;

democracy, civil rights, and civil liberties; and privacy.

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       5.       Defendant USAF is a federal agency within the meaning of FOIA, 5 U.S.C. §

552(f)(1) and has possession, custody, and control of records responsive to Plaintiff’s FOIA

request.

                                    STATEMENT OF FACTS

       6.       On October 7, 2024, CASA submitted one FOIA request (attached as Exhibit A) to

USAF pertaining to LGBTG+ reading material (and a display promoting it) in Englin Air Force

Base Library that has been banned from library due to its pornographic content. The confirmation

ID for the FOIA submission was 1606896.

       7.       On October 8, 2024, USAF officially confirmed receipt and assigned the FOIA

request control number 2025-00188-F.

       8.       On October 15, 2024, USAF responded that the FOIA request could “be processed

quickly with limited impact on the responding units,” and estimated that USAF could “provide a

response to your request within 20 working days.”

       9.       Release of these records is in the public interest because it will contribute to the

public’s understanding of an issue of widespread public interest: records and communications by

and between Eglin AFB Library staff regarding the pornographic books that are potentially being

made available at the library, and the promotion of those pornographic books.

       10.      FOIA is “a vital tool for ensuring transparency, accessibility, and accountability in

government” whose “‘basic purpose . . . is to ensure an informed citizenry,’ which is ‘vital to the

functioning of a democratic society [and] needed to check against corruption and to hold the

governors accountable to the governed.’” Merrick Garland, Memorandum for Heads of Executive

Departments and Agencies: Freedom of Information Act Guidelines 1 (Mar. 15, 2022),




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https://www.justice.gov/ag/page/file/1483516/download (quoting NLRB v. Robbins Tire &

Rubber Co, 437 U.S. 214, 242 (1978)) (“DOJ Memo”).

       11.     The DOJ Memo makes clear, “Timely disclosure of records is also essential to the

core purpose of FOIA.” DOJ Memo at 3.

       12.     Over 107 days have elapsed since USAF received CASA’s request, and over 100

days have passed since USAF estimated 20 days to provide the documents, yet USAF still has not

produced them.

       13.     Given these facts, USAF has not met its statutory obligations to provide the

requested records.

                                             COUNT I
                            Violation of FOIA, 5 U.S.C. § 552
                  Wrongful Withholding of Non-Exempt Responsive Records

       14.     CASA repeats and incorporates by reference paragraphs each of the foregoing

paragraphs as if fully set forth herein.

       15.     CASA properly submitted a request for records within the possession, custody, and

control of USAF.

       16.     USAF is an agency subject to FOIA and, therefore, has an obligation to release any

non-exempt records and provide a lawful reason for withholding any materials in response to a

proper FOIA request.

       17.     USAF is wrongfully withholding non-exempt agency records requested by CASA

by failing to produce non-exempt records responsive to its request.

       18.     USAF’s failure to provide all non-exempt responsive records violates FOIA.




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       19.      Plaintiff CASA is therefore entitled to declaratory and injunctive relief requiring

USAF to promptly produce all non-exempt records responsive to its FOIA request and provide an

index justifying the withholding of any responsive records withheld under claim of exemption.

                                     REQUESTED RELIEF

Plaintiff CASA respectfully requests this Court:

       (1) Assume jurisdiction in this matter and maintain jurisdiction until Defendant USAF

             complies with the requirements of FOIA and any and all orders of this Court.

       (2) Order USAF to produce, within ten days of the Court’s order, or by other such date as

             the Court deems appropriate, any and all non-exempt records responsive to CASA’s

             request and an index justifying withholding all or part of any responsive records that

             are withheld under claim of exemption.

       (3) Award CASA the costs of this proceeding, including reasonable attorney’s fees and

             other litigation costs reasonably incurred in this action, pursuant to 5 U.S.C. §

             552(a)(4)(E).

       (4) Grant CASA other such relief as the Court deems just and proper.


       Dated: January 31, 2025                         Respectfully submitted,

                                                       CENTER TO ADVANCE SECURITY IN
                                                       AMERICA

                                                       By Counsel:
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